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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Alaskan Seismic Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4430 Mitzie Ct.                                                 P.O. Box 876489
                                  Wasilla, AK 99654                                               Wasilla, AK 99687
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Matanuska Susitna                                               Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Alaskan Seismic Holdings, LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Alaskan Seismic Holdings, LLC                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Alaskan Seismic Holdings, LLC                                              Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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/s/ Christopher M. Samis
                                                    07/27/2021




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Dated: July 27, 2021
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                        WRITTEN ACTION OF THE MEMBERS OF
                         ALASKAN SEISMIC HOLDINGS, LLC

                                   Effective Date: July 27
                                                        __, 2021

        THE UNDERSIGNED, constituting all of the members (the “Members”) of Alaskan
Seismic Holdings, LLC, a Delaware limited liability company (the “Company”), hereby approves
and adopts the following recitals and resolutions in accordance with the Delaware Limited
Liability Company Act and applicable provisions of the Company’s Operating Agreement:

        WHEREAS, the Members have considered the business and financial conditions and
results of operations of the Company on the date hereof, including the assets and liabilities of the
Company; and

        WHEREAS, the Members have reviewed, considered and received the recommendations
of the senior management of the Company and the Company’s legal, financial and other advisors
as to the relative risks and benefits of pursuing a bankruptcy proceeding under Chapter 7 of Title
11 of the United States Code (11 U.S.C. §§ 101 et seq., the “Bankruptcy Code”);

        WHEREAS, based on factors and information deemed relevant by the Members, in the
judgment of the Members, it is in the best interests of the Company, as well as the best interests of
the Company’s creditors and other interested parties under the circumstances set forth herein, that
the Company file a voluntary petition for relief under Chapter 7 of the Bankruptcy Code on behalf
of the Company.

       NOW, THEREFORE, BE IT:

        RESOLVED, that in the judgment of the Members, it is desirable and in the best interests
of the Company, its creditors and other parties in interest, taken as a whole, that the Company file
or cause to be filed a voluntary petition for relief under the provisions of Chapter 7 of the
Bankruptcy Code; and

         RESOLVED FURTHER that the officers of the Company (the “Authorized Officers”), be
and hereby are authorized to: (i) execute and file (or direct others to do so on his behalf as provided
herein) on behalf of the Company a petition under Chapter 7 of the Bankruptcy Code with a United
States Bankruptcy Court in such form and at such time as the Authorized Officers executing said
petition on behalf of the Company shall determine and (ii) execute and file all petitions, schedules,
motions, lists, applications, pleadings and other papers related thereto, and (iii) employ and retain
all assistance of legal counsel, accountants or other professionals and to take any and all actions
which he deems to be necessary and proper in connection with the Chapter 7 case; and

        RESOLVED FURTHER that the Authorized Officers are hereby authorized and directed
to take all steps and do all acts and things, including the execution and delivery of documents, as
may be necessary or as may be deemed to be necessary, advisable or appropriate by the Authorized
Officers to effectuate the purposes and intents of the foregoing resolutions; and
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        RESOLVED FURTHER that any and all acts taken and any and all certificates,
instruments, agreements, or other documents executed on behalf of the Company by the
Authorized Officers of the Company prior to the adoption of these resolutions with regard to any
of the transactions, actions, certificates, instruments, agreements, or other documents authorized
or approved by the foregoing resolutions be, and hereby are, in all respects, ratified, confirmed,
adopted, and approved; and

        RESOLVED FURTHER that any specific resolutions that may be required to have been
adopted by the Members to effectuate the matters and transactions contemplated by the foregoing
resolutions be, and they hereby are, adopted, and the Members, Authorized Officers, and
authorized representatives of the Company be, and each of them acting alone hereby is authorized,
in the name of and on behalf of the Company to certify as to the adoption of any and all such
resolutions; and

       RESOLVED FURTHER that each Authorized Officers shall be, and hereby is, authorized
and empowered on behalf of the Company and in its name to take or cause to be taken all actions
and to execute and deliver all such instruments that the Authorized Officers determine are
necessary or desirable in connection with or in furtherance of the foregoing resolutions; and

       RESOLVED FURTHER that this consent may be executed by facsimile, telecopy or other
reproduction, and such execution shall be considered valid, binding and effective for all purposes.
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         IN WITNESS WHEREOF, the undersigned certifies to the foregoing resolutions as of the
27th
____   day of July, 2021.

Member:

By:
        William Van Dyke

Member:

Palmyra Energy Ventures Fund I, L.P.

By:
        Vlad Bayer
Its:    Authorized Representative
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                                                                   Chapter 7

Alaskan Seismic Holdings, LLC,                                                                           Case No. 21 -____ (___)

                  Debtor.


         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

    1.    Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
          above-named debtor(s) and that compensation paid to me within one year before the filing of the
          petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
          behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept ...................................................... $117,028.001

          Prior to the filing of this statement I have received ...........................................$117,028.00

          Balance Due ................................................................................................................ $0.00

    2.    The source of the compensation paid to me was:

                       Debtor                               □      Other (specify)

    3.    The source of compensation to be paid is:

                      □ Debtor                                Other (specify)

    4.     I have not agreed to share the above-disclosed compensation with any other person unless they
            are members and associates of my law firm.

          □ I have agreed to share the above-disclosed compensation with a person or persons who
              are not members or associates of my law firm.

    5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the
          bankruptcy case, including:

                a.    Analysis of the debtor’s financial situation, and rendering advice to the debtor in
                      determining whether to file a petition in bankruptcy;

                b.    Preparation and filing of any petition, schedules, and statements of affairs which may be
                      required;




1
 This amount was agreed to in connection with the chapter 7 cases of the Debtor and its five debtor
affiliates.


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                c.   Representation of the debtor at the meeting of creditors, and any adjourned hearings
                     thereof;

                d.   Representation of the debtor in adversary proceedings and other contested bankruptcy
                     matters;

                e.   [Other Provisions as needed].
                     Working with the debtor to provide information to, and respond to questions and
                     information requests from, the chapter 7 trustee.

    6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:

                     Representation of the debtors in any dischargeability actions, judicial lien
                     avoidances, relief from stay actions or any other adversary proceeding.




                                             CERTIFICATION


   I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me
for representation of the debtor(s) in this bankruptcy proceeding.


 July 27, 2021                                          /s/ Christopher M. Samis
         Date                                                Signature of Attorney


                                                    POTTER ANDERSON & CORROON LLP
                                                         Name of Law Firm




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Alaskan Seismic Holdings, LLC
4430 Mitzie Ct.
Wasilla, AK 99654


Clean Harbors
300-444 58th Ave., SE
Calgary, Alberta T2H 0P4
Canada


Palmyra Energy Capital, LLC
6 Marilane Street
Houston, TX 77007


Palmyra Energy Holdings, LLC
6 Marilane Street
Houston, TX 77007


Palmyra Energy Ventures Fund I, L.P.
6 Marilane Street
Houston, TX 77007


Palmyra Energy Ventures GP I, LLC
6 Marilane Street
Houston, TX 77007


SAExploration
13654 North Promenade Blvd.
Houston, TX 77477


State of Alaska Department of Revenue
550 West 7th Ave., Suite 500
Anchorage, AK 99501


TGS
10451 Clay Road
Houston, TX 77043


William Van Dyke
4430 Mitzie Ct.
Wasilla, AK 99654
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 7

Alaskan Seismic Holdings, LLC,                                  Case No. 21 -____ (___)

              Debtor.


     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY
     AND DISCLAIMER REGARDING DEBTORS’ SCHEDULES OF ASSETS AND
           LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements”) of Alaskan Seismic Ventures, LLC (“ASV”), Alaskan Seismic
Holdings, LLC (“ASH”), Palmyra Energy Ventures Fund I, L.P. (“PEV Fund”), Palmyra Energy
Capital, LLC (“PEC”), Palmyra Energy Ventures GP I, LLC (“PEV GP”), and Palmyra Energy
Holdings, LLC (“PEH” and collectively with ASV, ASH, PEV Fund, PEC and PEV GP, the
“Debtors”), filed with the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) are unaudited and have been prepared pursuant to 11 U.S.C. § 521 and
Rule 1007 of the Federal Rules of Bankruptcy Procedure and Rule 1007-1 of the Local Rules of
Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
Delaware by the Debtors’ management with the assistance of its advisors. Although the
Debtors’ management has made reasonable efforts to ensure that the Schedules and Statements
are accurate and complete, based on information that was available at the time of preparation, the
Schedules and Statements remain subject to further revision and verification by the Debtors.
Subsequent receipt or discovery of information may result in material changes in financial and
other data contained in the Schedules and Statements. Moreover, inadvertent errors or omissions
may exist. Accordingly, the Debtors reserve the right to amend or supplement the Schedules and
Statements from time to time as may be necessary or appropriate. These notes (the “Global
Notes”) are incorporated by reference in, and comprise an integral part of, the Schedules and
Statements, and should be referred to and reviewed in connection with any review of the
Schedules and Statements.

1.        On July 27
                  __, 2021 (the “Petition Date”), each of the Debtors filed their voluntary petitions
 for relief under chapter 7 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
“Bankruptcy Code”). Except as otherwise noted, all asset and liability information is as near as
possible to the Petition Date.

2.      The Debtors and their officers, agents, and attorneys do not guarantee or warrant the
accuracy, completeness or timeliness of the data that is provided herein and shall not be liable for
any loss or injury arising out of or caused, in whole or in part, by the acts, errors or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating or delivering the information contained herein. The Debtors and their officers,
agents, and attorneys expressly do not undertake any obligation to update, modify, revise or re-


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categorize the information provided herein or to notify any third party should the information be
updated, modified, revised or re-categorized. In no event shall the Debtors or their officers,
agents, and attorneys be liable to any third party for any direct, indirect, incidental, consequential
or special damages (including, but not limited to, damages arising from the disallowance of a
potential claim against the Debtors or damages to business reputation, lost business or lost
profits), whether foreseeable or not and however caused.

3.      The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles (“GAAP”), nor are they intended
to fully reconcile to any financial statements otherwise prepared and/or distributed by the
Debtors.

4.      Based on the information available at the time of preparation, the Debtors’ management
made every reasonable effort to ensure the Schedules and Statements are as accurate and
complete as possible, but inadvertent errors or omissions may have occurred. Because the
Schedules and Statements contain unaudited information, which is subject to further review,
verification and potential adjustment, there can be no assurance that these Schedules or
Statements are complete. Subsequent information or discovery may result in material changes to
these Schedules or Statements.

5.     For the avoidance of doubt, listing a claim on Schedule D as “secured,” on Schedule F as
“unsecured nonpriority,” or listing a contract or lease on Schedule G as “executory” or
“unexpired,” does not constitute an admission by the Debtors of the legal rights of any claimant.

6.      Any failure to designate a claim listed on the Debtors’ Schedules as “disputed,”
“contingent” or “unliquidated” does not constitute an admission by the Debtors that such amount
is not “disputed,” “contingent” or “unliquidated” or is not subject to objection. The Debtors
reserve the right to dispute, or to assert setoff rights, counterclaims or defenses to, any claim
reflected on its Schedules as to amount, liability or classification, or to otherwise subsequently
designate any claim as “disputed,” “contingent” or “unliquidated.”

7.      All amounts shown in the Schedules and Statements are in U.S. Dollars.

8.     Wherever possible, amounts owed as of the Petition Date are presented. Some of the
scheduled liabilities are unknown, contingent and/or unliquidated at this time. In some cases, the
amounts are listed as $0.00 or “Unknown.” Accordingly, the Schedules and Statements do not
accurately reflect the aggregate amount of the Debtors’ total liabilities.

9.      Certain of the Schedules and Statements may list creditors and set forth the Debtors’
estimate of the claims of creditors as of the Petition Date. Accordingly, the actual unpaid claims
of creditors that may be allowed in the Debtors’ cases may differ from the amounts set forth in
the Schedules and Statements.

10.    The Debtor has made reasonable efforts to correctly characterize, classify, categorize or
designate certain claims, assets, executory contracts, unexpired leases, and other items reported
in the Schedules and SOFA. However, the Debtor nonetheless may have improperly
characterized, classified, categorized or designated certain items. Thus, the Debtor reserves all


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rights to recharacterize, reclassify, recategorize or redesignate items reported in the Schedules
and SOFA at a later time as is necessary or appropriate.

11.     Despite reasonable efforts to identify all known assets, the Debtors might not have
identified and/or set forth all of its causes of action against third parties as assets in its Schedules
and Statements, including, but not limited to, avoidance actions arising under chapter 5 of the
Bankruptcy Code and actions under relevant non-bankruptcy laws to recover assets. The
Debtors reserve any and all rights with respect to any causes of action it may have, and neither
these Global Notes, nor the Schedules shall be deemed a waiver of any such right or cause of
action.

12.      In the circumstance where the Schedules and Statements require information regarding
insiders and/or officers and directors, the Debtors have attempted to include therein the Debtors’
(a) “directors” (or persons in similar positions), and (b) employees that may be, or may have
been during the relevant period, “officers,” as such term is defined by applicable law. The listing
of a party as an insider is not intended to be, nor should it be, construed as a legal
characterization of such party as an insider and does not act as an admission of any fact, claim,
right, or defense, and all such rights, claims, and defenses are hereby expressly reserved. Certain
employees have been included in this disclosure for informational purposes only and should not
be deemed to be “insiders” in terms of control of the Debtors, management responsibilities or
functions, decision-making or corporate authority and/or as otherwise defined by applicable law,
including, without limitation, the federal securities laws, or with respect to any theories of
liability or for any other purpose.

13.    These Global Notes are in addition to the specific notes set forth in the individual
Schedules and Statements. Disclosure of information in one Schedule, Statements, exhibit, or
continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, Statements, exhibit or continuation sheet.

14.     The Debtors specifically reserve the right to amend, modify, supply, correct, change or
alter any part of the Schedules and Statements as and to the extent necessary or as they deem
appropriate.

15.    In the event that the specific notations on the Schedules and Statements conflict or
contradict these Global Notes, these Global Notes shall control.

16.     The Schedules, Statements, and these Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or performance
of the Debtors.

                                            Specific Notes

17.     Because PEH owns 100% of both PEC and PEV GP, PEH’s books and records
consolidate the books and records of PEC and PEV GP for accounting purposes. Accordingly,
the assets and liabilities that are included in the Schedules and Statements of PEC and PEV GP
are additionally listed as assets and liabilities of PEH.



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18.     Schedule D: Although the Debtors may have scheduled claims of various creditors as
secured claims, the Debtors reserve all rights to dispute or challenge the secured nature or
amount of any such creditor’s claim or the characterization of the structure of any such
transaction or any document or instrument related to such creditor’s claim. The descriptions
provided on Schedule D are intended only to be a summary. Reference to the applicable
agreements and other related relevant documents is necessary for a complete description of the
collateral and the nature, extent and priority of any liens. Nothing in these Global Notes or the
Schedules and Statements shall be deemed a modification or interpretation of the terms of such
agreements.

        The Debtors have not included on Schedule D all parties that may believe their claims are
secured through setoff rights, deposits posted by, or on behalf of, the Debtors, or inchoate
statutory lien rights.

19.     Disputed, Contingent and/or Unliquidated Claims: Schedules D, E and F permit each of
the Debtors to designate a claim as disputed, contingent, and/or unliquidated. A failure to
designate a claim on any of these schedules as disputed, contingent, and/or unliquidated does not
constitute an admission that such claim is not subject to objection. The Debtors reserve the right
to dispute, or assert offsets or defenses to any claim reflected on these Schedules as to nature,
amount, liability, or status or to otherwise designate any claim as disputed, contingent or
unliquidated.

20.     Schedule G: Certain information, such as contact information of the counterparty, may
not be included where such information could not be obtained using the Debtors’ reasonable
efforts. Listing or omitting a contract or agreement on Schedule G does not constitute an
admission that such contract or unexpired lease was in effect on the Petition Date or is valid or
enforceable. Certain of the leases and contracts listed on Schedule G may contain certain
renewal options, guarantees of payment, indemnifications, options to purchase, rights of first
refusal, and other miscellaneous rights. Such rights, powers, duties, and obligations are not set
forth separately on Schedule G.

21.    Schedule H: Schedule H reflects guarantees or other obligations by various of the
Debtors’ affiliates of obligations primarily vested in other related affiliates. The Debtors may
not have identified certain guarantees that are embedded in the Debtors’ executory contracts,
unexpired leases, secured financings, debt instruments and other such agreements. The Debtors
reserve their rights to amend the Schedules to the extent that additional guarantees are identified
or such guarantees are discovered to have expired or to be unenforceable.

                               ***END OF GLOBAL NOTES***


        **SCHEDULES AND STATEMENTS BEGIN ON THE FOLLOWING PAGE**




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 Fill in this information to identify the case:

 Debtor name            Alaskan Seismic Holdings, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $                      0.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Alaskan Seismic Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                           Current value of
                                                                                                                             debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used    Current value of
                                                                                                     for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Alaskan Seismic Ventures, LLC                                  100       %      Equity                                        $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 1
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 Debtor         Alaskan Seismic Holdings, LLC                                                Case number (If known)
                Name



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                      $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 2
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 Debtor          Alaskan Seismic Holdings, LLC                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
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 Fill in this information to identify the case:

 Debtor name         Alaskan Seismic Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Alaskan Seismic Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
        out and attach the Additional Page of Part 2.
 3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                Contingent
                                                                                Unliquidated
           Date or dates debt was incurred
                                                                                Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?       No     Yes


 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                     related creditor (if any) listed?               account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                            0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              0.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Alaskan Seismic Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Alaskan Seismic Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Alaskan Seismic                   4430 Mitzie Ct.                                                                      D
             Ventures, LLC                     Wasilla, AK 99654                                                                    E/F
                                                                                                                                    G




    2.2      Palmyra Energy                    6 Marilane Street                                                                    D
             Capital, LLC                      Houston, TX 77007                                                                    E/F
                                                                                                                                    G




    2.3      Palmyra Energy                    6 Marilane Street                                                                    D
             Holdings, LLC                     Houston, TX 77007                                                                    E/F
                                                                                                                                    G




    2.4      Palmyra Energy                    6 Marilane Street                                                                    D
             Ventures Fund I,                  Houston, TX 77007                                                                    E/F
             L.P.                                                                                                                   G




    2.5      Palmyra Energy                    6 Marilane Street                                                                    D
             Ventures GP I,                    Houston, TX 77007                                                                    E/F
             LLC                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Alaskan Seismic Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                          $0.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                                          $0.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor      Alaskan Seismic Holdings, LLC                                                              Case number (if known)



    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor      Alaskan Seismic Holdings, LLC                                                                  Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                     lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                 Total amount or
                the transfer?                                                                                                                                 value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers             Total amount or
                                                                                                                         were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services               If debtor provides meals
                                                                 the debtor provides                                                        and housing, number of
                                                                                                                                            patients in debtor’s care

 Part 9:      Personally Identifiable Information

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 Debtor      Alaskan Seismic Holdings, LLC                                                              Case number (if known)




16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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 Debtor      Alaskan Seismic Holdings, LLC                                                              Case number (if known)



      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Alaskan Seismic Ventures                         Seismic data library                             EIN:         473968884
             P.O. Box 876489
             Wasilla, AK 99687                                                                                 From-To      6/15/2015 - 12/1/2015


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       William Van Dyke                                                                                                           1/1/2019 - 4/22/2021
                    4430 Mitzie Ct.
                    Wasilla, AK 99654

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.



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 Debtor      Alaskan Seismic Holdings, LLC                                                              Case number (if known)



              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Vladislav Bayer                                6 Marilane Street                                   Owner                                 85
                                                      Houston, TX 77007

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William Van Dyke                               4430 Mitzie Ct.                                     Owner                                 15
                                                      Wasilla, AK 99654



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.
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                Chief Executive Officer
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